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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA

                                CASE NO. ____________________

  SECURITIES AND EXCHANGE COMMISSION,             )
                                                  )
                    Plaintiff,                    )
                                                  )
  v.                                              )
                                                  )
  SPARTAN SECURITIES GROUP, LTD.,                 )
  ISLAND CAPITAL MANAGEMENT LLC,                  )
  CARL E. DILLEY,                                 )
  MICAH J. ELDRED, and                            )
  DAVID D. LOPEZ,                                 )
                                                  )
                    Defendants.                   )
  _______________________________________________ )

                 COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

         Plaintiff Securities and Exchange Commission (“Plaintiff” or the “Commission”)

  alleges:

                                      I. INTRODUCTION

         1.      The Commission brings this action to enjoin Defendants Spartan Securities

  Group, Ltd. (“Spartan Securities”), Island Capital Management LLC, d/b/a Island Stock

  Transfer (“Island Stock Transfer”), Carl E. Dilley (“Dilley”), Micah J. Eldred (“Eldred”), and

  David D. Lopez (“Lopez”) (collectively, “Defendants”) from violating the provisions of the

  federal securities laws described herein.

         2.      Spartan Securities, a registered broker-dealer, and Island Stock Transfer, a

  registered transfer agent, are commonly owned and tout their “one-stop shop” services provided
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  in tandem to issuers of microcap securities. At material times to this Complaint, Dilley, Eldred,

  and Lopez were common owners of the parent of both Spartan Securities and Island Stock

  Transfer, and principals of both Spartan Securities and Island Stock Transfer.

         3.      This action involves Defendants’ roles in one or two separate fraudulent

  schemes from approximately December 2009 through August 2014 to manufacture at least 19

  public companies for sale fundamentally premised on a deceptive public float of purportedly

  “free-trading” securities:   14 by Alvin Mirman and Sheldon Rose (the “Mirman/Rose

  Companies,” identified in paragraph 30 below) and five by Michael Daniels, Andy Fan, and

  Diane Harrison (the “Daniels Companies,” identified in paragraph 102 below).

         4.      The fraudulent schemes depended on misrepresentations and omissions to,

  among others, the Commission, the Financial Industry Regulatory Authority (“FINRA”), and

  the Depository Trust Company (“DTC”) that the Mirman/Rose and Daniels Companies were

  legitimate small businesses with independent management and shareholders. In reality, both

  the management and shareholders were nothing more than nominees for control persons who

  always intended merely to sell all the securities of the companies privately in bulk for their

  own benefit. The essential value of these securities (each bulk sale realized proceeds of

  hundreds of thousands of dollars) was their false designation as “free-trading” with the ability

  to be sold immediately on the public market. If the truth had been known to the public, the

  securities would have been restricted from such sales and would have had little value.

         5.      Dilley and Eldred knew or were reckless in not knowing from the onset that the

  Mirman/Rose Companies and Daniels Companies, respectively, were pursuing their stated

  plans under false pretenses and instead being packaged for sale as public vehicles, and that the

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  shareholders were mere nominees for the control persons. Nonetheless, Defendants took

  critical steps to advance the frauds.

         6.      Dilley schemed with Mirman and Rose, and Eldred schemed with Daniels, Fan

  and Harrison, to defraud the public that the Mirman/Rose Companies and Daniels Companies

  were operating businesses with independent management and shareholders, rather than

  undisclosed “blank check” companies (sometimes referred to as “shells” or “vehicles”) for

  sale. In furtherance of the Mirman/Rose scheme, Dilley signed false Form 211 applications

  submitted to FINRA, contributed to false DTC applications, found potential shell buyers,

  signed an escrow agreement and false attestation letters for shell buyers, and effectuated the

  bulk transfer of the entire deceptive public float of Mirman/Rose Companies to shell buyers.

  Eldred similarly schemed with Daniels, Fan and Harrison by filing false Forms 211 with

  FINRA, signing false securities deposit forms and executing trades in Spartan Securities’

  proprietary account, all in support of the manufacture of undisclosed public vehicles – one of

  which Eldred expressly proposed to acquire himself while its Form 211 was pending.

         7.      A necessary step in both fraudulent schemes was for the issuer’s stock to be

  eligible for public quotation, which requires a broker-dealer to file a Form 211 application with

  FINRA to demonstrate compliance with Rule 15c2-11 under the Securities Exchange Act of

  1934 (“Exchange Act”). FINRA typically raises specific concerns or seeks further information

  from the broker-dealer in one or more deficiency letters before clearing the application.

  Meanwhile, transfer agents perform a number of roles for issuers pertaining to their securities

  and shareholders, including recording changes of ownership, maintaining the issuer's security




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  holder records, canceling and issuing certificates, and resolving problems arising from lost,

  destroyed or stolen certificates.

            8.       Spartan Securities and Island Stock Transfer acted in tandem to provide these

  various services which were critical to the Mirman/Rose and Daniels/Fan/Harrison shell

  factories. For example, Spartan Securities filed the Form 211 application with FINRA in order

  for the securities of these 19 issuers to be publicly quoted. Spartan Securities, Dilley, and

  Eldred made materially false statements and omissions to FINRA regarding the purpose,

  management and shareholders of the Mirman/Rose Companies and Daniels Companies.

  Spartan Securities and its principals also had information that undermined any reasonable basis

  that the information required by Rule 15c2-11 was materially accurate and from a reliable

  source.        Spartan Securities then initiated unpriced quotations for all the Mirman/Rose

  Companies and Daniels Companies (except PurpleReal) upon FINRA’s clearance of the Form

  211.

            9.       Lopez was a Spartan Securities principal who, with Dilley and Eldred’s

  knowledge, personally undertook responsibility for much of the Form 211 process on at least

  four Mirman/Rose Companies. In addition, Lopez was Spartan Securities’ Chief Compliance

  Officer and the principal responsible for effectuating its extensive written policies and

  procedures applicable to Form 211 applications. Nonetheless, Lopez knowingly or recklessly

  ignored those procedures and the other requirements inherent in Rule 15c2-11, including

  failing to conduct any investigation or inquiry into red flags raised by FINRA in the deficiency

  letters and other adverse information in Spartan Securities’ possession, or even to familiarize

  himself with the issuers. As a result, Lopez was a substantial factor in Spartan Securities’

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  failure to have a reasonable basis for believing that required information about those four

  Mirman/Rose Companies was accurate and from a reliable source.

         10.     After obtaining Form 211 clearance for the Mirman/Rose Companies, Spartan

  Securities and Island Stock Transfer then initiated and provided false information for

  applications filed with DTC through which the securities became eligible for electronic

  clearance. Island Stock Transfer also effectuated both the bulk issuance and transfer of the

  Mirman/Rose Company securities without restriction despite Dilley’s knowing (or recklessly

  not knowing) and numerous red flags that the securities were in the hands of affiliates and

  therefore restricted, while Spartan Securities effectuated the unlawful deposit and open-market

  sales of some Daniels Company shares by signing false deposit requests and entering pre-

  arranged trades through a proprietary account.

         11.     As a result of the conduct alleged in this Complaint:

                 (a)    Defendant Spartan Securities violated Sections 5(a), 5(c), 17(a)(1) and

  17(a)(3) of the Securities Act of 1933 (“Securities Act”), 15 U.S.C. §§ 77e(a), 77e(c),

  77q(a)(1), 77q(a)(3), and Sections 10(b) and 15(c)(2) and Rules 10b-5 and 15c2-11 of the

  Exchange Act, 15 U.S.C. §§ 78j(b), 78o(c)(2) and 17 C.F.R. §§ 240.10b-5, 240.15c2-11; and

  aided and abetted violations of Section 17(a) of the Securities Act, 15 U.S.C. § 77e(a), and

  Section 10(b) and Rule 10b-5 of the Exchange Act, 15 U.S.C. § 78j(b) and 17 C.F.R.

  § 240.10b-5;

                 (b)    Defendant Island Stock Transfer violated Sections 5(a), 5(c), 17(a)(1)

  and 17(a)(3) of the Securities Act, 15 U.S.C. §§ 77e(a), 77e(c), 77q(a)(1), 77q(a)(3), and

  Section 10(b) and Rule 10b-5 of the Exchange Act, 15 U.S.C. § 78j(b) and 17 C.F.R.

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  § 240.10b-5; and aided and abetted violations of Section 17(a) of the Securities Act, 15 U.S.C.

  § 77e(a), and Section 10(b) and Rule 10b-5 of the Exchange Act, 15 U.S.C. § 78j(b) and

  17 C.F.R. § 240.10b-5;

                 (c)     Defendant Dilley violated Sections 5(a), 5(c), 17(a)(1) and 17(a)(3) of

  the Securities Act, 15 U.S.C. §§ 77e(a), 77e(c), 77q(a)(1), 77q(a)(3), and Section 10(b) and

  Rule 10b-5 of the Exchange Act, 15 U.S.C. § 78j(b), and 17 C.F.R. § 240.10b-5; and aided and

  abetted violations of Section 17(a) of the Securities Act, 15 U.S.C. § 77e(a), and Sections 10(b)

  and 15(c)(2) and Rules 10b-5 and 15c2-11 of the Exchange Act, 15 U.S.C. §§ 78j(b), 78o(c)(2),

  and 17 C.F.R. §§ 240.10b-5, 240.15c2-11;

                 (d)     Defendant Eldred violated Sections 17(a)(1) and 17(a)(3) of the

  Securities Act, 15 U.S.C. §§ 77q(a)(1), 77q(a)(3), and Section 10(b) and Rule 10b-5 of the

  Exchange Act, 15 U.S.C. § 78j(b), and 17 C.F.R. § 240.10b-5; and aided and abetted violations

  of Section 17(a) of the Securities Act, 15 U.S.C. § 77e(a), and Sections 10(b) and 15(c)(2) and

  Rules 10b-5 and 15c2-11 of the Exchange Act, 15 U.S.C. §§ 78j(b), 78o(c)(2), and 17 C.F.R.

  §§ 240.10b-5, 240.15c2-11;

                 (e)     Defendant Lopez aided and abetted violations of Section 15(c)(2) and

  Rule 15c2-11 of the Exchange Act, 15 U.S.C. § 78o(c)(2) and 17 C.F.R. § 240.15c2-11; and

                 (f)     Unless enjoined, Defendants are reasonably likely to continue to violate

  the federal securities laws.

         12.     The Commission therefore respectfully requests the Court enter an order:

  (i) permanently enjoining Defendants from violating the federal securities laws; (ii) directing

  Island Stock Transfer to pay disgorgement with prejudgment interest; (iii) directing Defendants


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  to pay civil money penalties; and (iv) imposing penny stock bars against Spartan Securities,

  Dilley, Eldred and Lopez.

                 II. DEFENDANTS AND OTHER RELEVANT PERSONS

                                       A. DEFENDANTS

         13.     Spartan Securities has been registered with the Commission as a broker-dealer

  since 2001, with its principal place of business in Clearwater, Florida. Spartan Securities is a

  Florida limited partnership wholly owned by Connect X Capital Markets LLC (“Connect X”),

  whose managing member is Eldred and shareholders have included Dilley, Eldred and Lopez.

  Between 2009 and 2018, Spartan Securities has been the subject of at least 10 disciplinary

  actions by FINRA or the NASDAQ Stock Market.

         14.     Island Stock Transfer has been registered with the Commission as a transfer

  agent since 2003, with its principal place of business in Clearwater, Florida. Island Stock

  Transfer is a Florida limited liability company wholly owned by Connect X that shares office

  space, computer systems, officers and employees with Spartan Securities.

         15.     Dilley, a resident of Seminole, Florida, was a registered principal and

  representative of Spartan Securities from 2004 to 2015. Dilley was also the President of Island

  Stock Transfer from 2004 until January 2018. Dilley is presently the Vice President of another

  registered transfer agent owned by Connect X and of which Eldred and Lopez are also officers.

         16.     Eldred, a resident of Seminole, Florida, has been a registered principal and

  representative of Spartan Securities and the Chief Executive Officer of Island Stock Transfer

  from 2001 to the present.




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         17.     Lopez, a resident of St. Petersburg, Florida, has been a registered principal and

  Chief Compliance Officer of Spartan Securities from March 2001 to the present and the Chief

  Compliance Officer of Island Stock Transfer from August 2006 to the present.

                              B. OTHER RELEVANT PERSONS

         18.     Alvin Mirman, of Sarasota, Florida, was the undisclosed control person of

  Changing Technologies, Inc. (“Changing Technologies”) and an undisclosed control person,

  along with Rose, of On the Move Systems Corp. (“On the Move”), Rainbow Coral Corp.

  (“Rainbow Coral”), First Titan Corp. (“First Titan”), Neutra Corp. (“Neutra”), Aristocrat

  Group Corp. (“Aristocrat”), First Social Networx Corp. (“First Social”), Global Group

  Enterprises Corp. (“Global Group”), E-Waste Corp. (“E-Waste”) and First Independence Corp.

  (“First Independence”). Mirman was a defendant in SEC v. McKelvey et al., Case No. 15-cv-

  80496 (S.D. Fla. 2015), in which the Court entered, by consent, a judgment of permanent

  injunction, officer and director bar and penny stock bar against Mirman. On August 19, 2016,

  Mirman pled guilty to a one-count Information charging him with conspiracy to commit

  securities fraud.   U.S. v. Mirman et al., Case No. 16-cr-20572 (S.D. Fla.).          Both the

  Commission and criminal actions included his misconduct in connection with the

  Mirman/Rose Companies. In 2007, without admitting or denying wrongdoing, Mirman

  consented to being barred by FINRA from association with any FINRA member.

         19.     Sheldon Rose, of Sarasota, Florida, was the undisclosed control person of Kids

  Germ Defense Corp. (“Kids Germ”), Obscene Jeans Corp. (“Obscene Jeans”), Envoy Group

  Corp. (“Envoy”) and First Xeris Corp. (“First Xeris”) and an undisclosed control person, along

  with Mirman, of On the Move, Rainbow Coral, First Titan, Neutra, Aristocrat, First Social,

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  Global Group, E-Waste and First Independence. The Commission entered, by consent, a

  cease-and-desist order, officer and director bar and penny stock bar against Rose. In re Sheldon

  Rose et al., Exch. Act Rel. No. 78894 (Sept. 21, 2016). The Commission later ordered Rose

  to pay disgorgement and prejudgment interest in the amount of $2,973,916.18. In re Sheldon

  Rose, Exch. Act Rel. No. 80301 (Mar. 23, 2017). On November 9, 2016, Rose pled guilty to

  a one-count Information charging him with conspiracy to commit securities fraud. U.S. v.

  Kass et al., Case No. 16-cr-20706 (S.D. Fla.). Both the Commission and criminal actions

  included his misconduct in connection with the Mirman/Rose Companies.

         20.     Michael Daniels, of Palmetto, Florida, was the undisclosed control person of

  Dinello Restaurant Ventures, Inc., n/k/a AF Ocean Investment Management Co. (“Dinello/AF

  Ocean”), President, Chief Executive Officer, Chief Financial Officer, Treasurer and Chairman

  of the Board of Court Document Services, Inc., n/k/a ChinAmerica Andy Movie Entertainment

  Media Co. (“Court/ChinAmerica”), Principal Executive Officer, Secretary, Treasurer,

  Chairman of the Board and Chief Financial Officer of Quality Wallbeds, Inc., n/k/a Sichuan

  Leaders Petrochemical Co. (“Wallbeds/Sichuan”), Secretary, Chief Financial Officer,

  Treasurer, Director, and Chairman of the Board of Top to Bottom Pressure Washing, Inc., n/k/a

  Ibex Advanced Mortgage Technology Co. (“TTB/Ibex”), and undisclosed control person of

  PurpleReal.com Corp. (“PurpleReal”). On April 25, 2018, the Commission filed a Complaint

  against Daniels related to his conduct in connection with the Daniels Companies. SEC v.

  Harrison, et al., No. 8:18-cv-01003 (M.D. Fla.).

         21.     Diane Harrison, of Palmetto, Florida, was the Chief Financial Officer,

  Secretary, Treasurer and Director of Dinello/AF Ocean, Treasurer, Principal Accounting

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   Officer and Director of Wallbeds/Sichuan, Director and Secretary of TTB/Ibex, and President,

   Director, and Chairman of the Board of PurpleReal. Harrison, an attorney, is the owner of the

   law firm Harrison Law, PA, which is based in Florida. Harrison, who is Daniels’ wife, is a

   defendant in the SEC v. Harrison case based on her conduct with respect to the Mirman/Rose

   Companies and the Daniels Companies.

          22.     Andy Fan, of Las Vegas, Nevada, was the President, Treasurer, Chief

   Executive Officer, Chief Financial Officer and Director of Dinello/AF Ocean and

   Court/ChinAmerica, and was the President and Director of Wallbeds/Sichuan and TTB/Ibex.

   The Commission entered, by consent, a cease-and-desist order, officer and director bar and

   penny stock bar against Fan, and ordered him to pay a civil money penalty of $140,000. In re

   Andy Z. Fan, Securities Act Rel. No. 10487 (Apr. 25, 2018). The Commission’s action related

   to Fan’s conduct with respect to certain of the Daniels Companies.

                                III. JURISDICTION AND VENUE

          23.     The Court has jurisdiction over this action pursuant to Sections 20(b), 20(d)(1)

   and 22(a) of the Securities Act, 15 U.S.C. §§ 77t(b), 77t(d)(1) and 77v(a); and Sections 21(d),

   21(e) and 27(a) of the Exchange Act, 15 U.S.C. §§ 78u(d), 78u(e) and 78aa(a).

          24.     The Court has personal jurisdiction over Defendants and venue is proper in this

   District because, among other things, some or all of the Defendants reside or transact business

   in this District and/or participated in the offer, purchase, or sale of securities in this District,

   and many of the acts and transactions constituting the violations alleged in this Complaint

   occurred in this District. In addition, venue is proper in this District under 28 U.S.C. § 1391

   because a substantial part of the events giving rise to the Commission’s claims occurred here.

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          25.      In connection with the conduct alleged in this Complaint, Defendants, directly

   and indirectly, singly or in concert with others, have made use of the means or instrumentalities

   of interstate commerce, the means or instruments of transportation or communication in

   interstate commerce, and of the mails.

                                 IV. FACTUAL ALLEGATIONS

          A.       The Mirman/Rose Shell Factory

          26.      Mirman and Rose, alone or together, manufactured at least 14 undisclosed

   “blank check” companies in assembly-line fashion in order to sell in bulk the entire deceptive

   float of purportedly unrestricted securities.

          27.      Mirman and Rose manufactured each Mirman/Rose Company in a similar

   fashion.     Mirman and Rose recruited a sole officer, director, employee, and majority

   shareholder (the “sole officer”) to act in name only. Mirman and Rose prepared and filed false

   and misleading registration statements with the Commission (the “Forms S-1”)

   misrepresenting that the sole officer was pursuing a specific business plan (versus Mirman and

   Rose controlling mere shells to sell all the securities in bulk) and would be solely responsible

   to solicit investors for the company (versus Mirman and Rose using similar rosters of friends

   and family to “invest” in name only).

          28.      After the Form S-1 became effective, Mirman and Rose solicited the same or

   virtually the same number of friends and family as shareholders while maintaining complete

   control through stock certificates with blank stock powers, which are signed by the named

   shareholder and entitle whoever holds the stock certificate to sell or transfer it.




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          29.      Mirman and Rose directed Spartan Securities and Island Stock Transfer to

   prepare applications with FINRA and DTC that contained materially false and inaccurate

   information in order to make the Mirman/Rose Companies marketable as public vehicles.

   Specifically, Mirman and Rose needed the purportedly public float of securities available for

   immediate public quotation and sale through DTC electronic clearance. Mirman and Rose

   then effectuated the bulk sale of the shares of the issuer for a single cash price by delivering

   all the stock certificates with blank stock powers to a single buyer group. Mirman and Rose

   split the net proceeds after paying a nominal amount to their straw sole officer and

   shareholders.

          30.      Mirman and Rose, alone or together, created and developed the following

   Mirman/Rose Companies:

    Mirman/Rose           Control        Effective         Date of       Time Between Form S-1
    Company              Person(s)     Date of Form       Change of      and Change of Control
                                            S-1            Control
    Kids Germ              Rose           12/2009          2/2010               3 months

    Obscene Jeans          Rose            8/2010          12/2010              4 months

    On the Move        Mirman/Rose        12/2010          6/2011               6 months

    Rainbow Coral      Mirman/Rose         1/2011          10/2011              9 months

    First Titan        Mirman/Rose         2/2011          9/2011               7 months

    Neutra             Mirman/Rose         4/2011          11/2011              7 months

    Aristocrat         Mirman/Rose        11/2011          7/2012               8 months

    First Social       Mirman/Rose         3/2012          2/2013               11 months

    Global Group       Mirman/Rose         3/2012          4/2013               13 months

    E-Waste Corp.      Mirman/Rose         6/2012          4/2013               10 months



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    Mirman/Rose             Control      Effective        Date of       Time Between Form S-1
    Company                Person(s)   Date of Form      Change of      and Change of Control
                                            S-1           Control
    First              Mirman/Rose        8/2012           5/2013               9 months
    Independence

    Envoy Group              Rose         9/2013           4/2014               7 months

    Changing               Mirman         10/2013          6/2014               8 months
    Technologies

    First Xeris              Rose         1/2014            N/A                   N/A


          31.      Mirman and Rose never intended to take any step to advance the purported

   business plan stated in the Form S-1. Rather, as evidenced in part by the short amount of time

   between Form S-1 effectiveness and the change of control, Mirman and Rose solely sought to

   manufacture a public vehicle in assembly-line fashion, and sell all its securities in bulk once

   obtaining the necessary clearances from the Commission, FINRA, and DTC.

          32.      Mirman and Rose retained Spartan Securities and Island Stock Transfer for a

   number of critical steps to develop the Mirman/Rose Companies in quick succession from

   Form S-1 effectiveness to public vehicles with securities eligible for public quotation and

   electronic clearance.

          33.      Mirman and Rose routinely contacted Dilley to simultaneously start broker

   services through Spartan Securities and transfer agent services through Island Stock Transfer.

   Mirman or Rose emailed Dilley stating that the issuer’s Form S-1 recently had gone effective

   and “[w]e want to start a 15c211” and have Island Stock Transfer act as transfer agent. Dilley

   instructed Spartan Securities and Island Stock Transfer employees to send the materials for,

   respectively, the Form 211 application and transfer agent services to Mirman or Rose.



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          34.     Spartan Securities and Island Stock Transfer, which share office space,

   computer systems, officers and employees, acted in tandem for the Mirman/Rose Companies.

   For example, Island Stock Transfer prepared certified shareholder lists at the request and upon

   the approval of Mirman and Rose. Spartan Securities then submitted those shareholder lists to

   FINRA as part of the Form 211 applications.

          35.     Spartan Securities and Island Stock Transfer’s actions allowed Mirman and

   Rose to sell the Mirman/Rose Companies via the bulk sale of all the issued securities to a small

   buyer group generating combined proceeds totaling at least $3.7 million:


    Mirman/Rose       Spartan     Island Stock    FINRA        DTC       Island Stock Transfer
     Company         Securities     Transfer     Form 211      Filing      Bulk Transfer To
                     Form 211       Original     Clearance                   Buyer Group
                     Signatory      Issuance
    Kids Germ          Dilley       12/2009       1/2010      1/2010            2/2010
    Obscene            Dilley       8/2010        9/2010      10/2010           12/2010
    Jeans
    On The Move        Dilley       1/2011        2/2011      4/2011            6/2011
    Rainbow            Dilley       2/2011        3/2011      7/2011            10/2011
    Coral
    First Titan        Dilley       4/2011        5/2011      7/2011            9/2011
    Neutra             Dilley       6/2011        7/2011      8/2011            11/2011
    Aristocrat         Dilley       12/2011       12/2011     2/2012            7/2012
    Group
    First Social       Dilley       3/2012        4/2012      7/2012             2/2013
    Networx
    Global Group       Dilley       4/2012        5/2012      8/2012             4/2013
    E-Waste            Dilley       7/2012        8/2012      9/2012             4/2013
    First              Dilley       2/2013        3/2013      4/2013             5/2013
    Independence
    Envoy Group        Dilley         N/A         12/2013      N/A                N/A
    Changing           Dilley       11/2013        1/2014     4/2014             6/2014
    Technologies
    First Xeris        Dilley       1/2014        3/2014      4/2014     N/A (SEC stop order)




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            Dilley’s Knowledge of/Participation in the Mirman/Rose Fraud

          36.     Dilley, a registered principal of Spartan Securities and Island Stock Transfer,

   knew or was reckless in not knowing that Mirman and Rose were manufacturing the

   Mirman/Rose Companies to control and sell a deceptive float of purportedly unrestricted

   securities (versus the material misrepresentations in the Forms 211 and Commission filings

   that the issuers were legitimate startups controlled by the nominee sole officer with an

   independent shareholder base).

          37.     Dilley knew or was reckless in not knowing of Mirman and Rose’s undisclosed

   control of and intent for the Mirman/Rose Companies with the earliest issuer, Kids Germ. Rose

   solicited Dilley to have Spartan Securities file the Kids Germ Form 211. On January 4, 2010

   – the same day FINRA cleared the Form 211 – Rose emailed Dilley: “What do you recommend

   [Kids Germ] do with the DTC, know[ing] the route it is taking? Do you want to speak to the

   attorney interested in the company, or do you want me to call him? If you want me to call him,

   please forward telephone number.” By email that same day, Dilley responded: “We should

   apply for DTC eligibility. Let me call you on this once I talk to [the attorney].”

          38.     On January 13, 2010, Island Stock Transfer initiated the DTC application for

   Kids Germ misrepresenting “the company is not a shell” despite Dilley knowing or recklessly

   not knowing it was a shell because of, among other things, its lack of assets or revenues and

   knowing “the route it is taking.” One month later, Island Stock Transfer transferred the Kids

   Germ shares from Rose’s friends and family in bulk without a restrictive legend stamped on

   the certificate to indicate that the shares are restricted from transfer or sale. Dilley knew or

   was reckless in not knowing that these shareholders were affiliates of Kids Germ because of

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   Rose’s control over all their shares to effectuate a bulk sale of Kids Germ and therefore, the

   shares should have been restricted from transfer or sale.

          39.     For the second Mirman/Rose Company, Obscene Jeans, Dilley signed the Form

   211. On September 3, 2010 (the day FINRA cleared the Form 211), at Rose’s request, Dilley

   contacted a DTC participant firm to file a DTC application for Obscene Jeans. By email dated

   October 4, 2010, Dilley’s assistant forwarded to Rose (copying Dilley) the DTC participant

   firm’s refusal to file the application because it was “looking to sponsor operating companies.

   We understand that having a shell DTC eligible raises its price but we are just not interested in

   the risk that the company falls into the wrong people’s hands.” The following week, despite

   this admonition, Dilley’s assistant asked the firm to reconsider filing the application. The firm

   agreed, and Spartan Securities re-initiated the DTC application at the behest of Dilley.

          40.     In the meantime, by email dated October 5, 2010, Rose sent Dilley a term sheet

   for the sale of Obscene Jeans making no mention of the sole officer or purported business plan

   and focusing largely on the share structure and tradeability status (for example, the shares were

   quoted with one market maker, which was Spartan Securities). The term sheet also listed that

   Obscene Jeans had no liabilities and only $20,000 in assets (all cash).

          41.     On October 22, 2010, a buyer emailed Dilley (copying Rose) that “we are

   closing on [Obscene Jeans] – can you post a bid-ask today?” The following day, Dilley

   emailed Rose: “I have to have someone open an account and deposit shares and offer some for

   sale. . . . I have never seen this to be a requirement from anyone wanting a shell.”

          42.     On October 25, 2010, Rose emailed Dilley: “I told our mutual friend ???? today

   to F off, respectfully. Thanks for your effort.”

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          43.     These various documents and events involving Dilley in September and

   October 2010 were clear signs that Obscene Jeans was a blank check company and Rose

   controlled all shares of Obscene Jeans for sale in bulk.

          44.     One month later, Rose asked Dilley for Island Stock Transfer to act as escrow

   agent for the sale of Obscene Jeans. At Rose’s request, Dilley signed an escrow agreement on

   behalf of Island Stock Transfer by which all of the shares of Obscene Jeans (both the control

   block and all purportedly unrestricted shares in the names of the 24 nominee shareholders)

   were being sold pursuant to one stock purchase agreement for $440,000. All of these

   documents and communications received by Dilley were clear signs that Obscene Jeans was a

   blank check company and Rose controlled all shares of Obscene Jeans for sale in bulk.

          45.     Dilley communicated exclusively with Mirman and Rose, and was aware that

   they directed the finances across the Mirman/Rose Companies. For example, by email dated

   September 19, 2011, Mirman told an Island Stock Transfer employee: “We spoke to Carl

   [Dilley] and told him we will pay [the Rainbow Coral invoice] through the Neutra account,”

   despite Rainbow Coral and Neutra purportedly being unrelated companies with separate

   management. Dilley told that same employee (copying Mirman): “We went through what was

   supposed to happen with this.” The following month (and on the same day) Dilley signed the

   stock certificates by which all the shares of both Rainbow Coral and Neutra were sold to the

   same buyers represented by the same counsel, demonstrating Dilley knew or was reckless in

   not knowing that Mirman and Rose controlled all shares of both issuers.

          46.     Dilley knew or was reckless in not knowing that Mirman and Rose similarly

   manufactured E-Waste and Global Group for sale. By email dated December 4, 2012, Mirman

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   wrote Dilley: “We [Mirman and Rose] are in the process of selling E-Waste and the attorney

   wants,” among other things, “[c]onfirmation from the T[ransfer] A[gent] that it has not put

   restrictions on any free trading shares.” Dilley responded “will do,” and instructed Island

   Stock Transfer’s Director of Operations to prepare the letter. Dilley signed the requested letter,

   and was copied on the transmittal of the letter exclusively to Mirman. The Director of

   Operations soon thereafter signed the stock certificates transferring all of E-Waste’s issued

   shares per the buyer’s counsel’s instructions.

             47.   By email dated January 1, 2013, Rose wrote Dilley: “Please send [the] same

   letter [as E-Waste] but for Global [Group] and e-mail to me ASAP.” Dilley signed that

   requested letter as well at Rose’s request.

             48.   On January 16, 2013, the buyer’s counsel for E-Waste sent an instruction letter

   to Island Stock Transfer enclosing a stock purchase agreement expressly stating that “all of the

   free trading shares of the Company consisting of an aggregate of 3,000,000 shares” were

   simultaneously being purchased pursuant to stock purchase agreements “of like tenor” with

   Rose as “Seller’s Representative,” evidencing that Rose, from whom Island Stock Transfer

   had exclusively taken instructions to date, controlled the bulk sale of all the “free-trading”

   shares.

             49.   By email dated February 27, 2013, Mirman asked Dilley how to handle a lost

   certificate of one of the “free-trading” shareholders because “Sheldon [Rose] is in New York

   today closing Global.” Dilley instructed Island Stock Transfer’s Director of Operations to

   respond to Mirman’s request. Island Stock Transfer effectuated the bulk transfer of virtually




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   all shares of Global Group to the same exact small group of buyers as E-Waste represented by

   the same counsel.

          50.     Dilley also assisted Rose’s efforts to sell the last Mirman/Rose Company, First

   Xeris. Soon after FINRA’s clearance of Spartan Securities’ Form 211 for First Xeris in March

   2014, a shell finder emailed Dilley: “I understand Sheldon Rose is trying to contact you

   regarding his new company [First Xeris] being dropped to Pink[] [Sheet] from QB based on

   the new bid/ask rules. I have a buyer for it, but not as a pink.” Dilley then placed daily bids

   in the open market at Rose’s request. Accordingly, Dilley knew or was reckless in not knowing

   that First Xeris was a company that Rose controlled and was looking to sell.

          Spartan Securities’ Involvement in the Mirman/Rose Fraud

          51.     With Dilley’s knowing or reckless involvement, Spartan Securities made

   crucial contributions to the Mirman/Rose fraud.

          52.     Dilley’s assistant as of 2012 prepared the Form 211 and all related documents

   based on templates. The assistant was instructed that a Spartan Securities’ principal would

   review the assistant’s draft and revise it to match the facts particular to each issuer. Dilley’s

   assistant submitted the Form 211 only upon Dilley’s approval. The assistant would similarly

   draft responses to FINRA deficiency letters for review by a Spartan Securities principal (Lopez

   from early 2013 onward), and only sent the responses to FINRA upon that principal’s (usually

   Lopez) express approval.

          53.     Dilley signed the Forms 211 for the Mirman/Rose Companies but was largely

   uninvolved in responding to FINRA’s deficiency letters or investigating any red flags

   identified by FINRA.

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          54.     By letter dated February 8, 2013, the Commission’s examination staff identified

   deficiencies and weaknesses in Spartan Securities’ compliance with certain federal securities

   laws, including (1) Spartan Securities’ possible violation of Rule 15c2-11 by failing to

   adequately address numerous red flags and provide material information to FINRA in

   connection with an unrelated Form 211 application, and (2) Lopez’s failure to adequately

   implement Spartan Securities’ written procedures regarding Forms 211 which required Lopez

   to review the information outlined in Rule 15c2-11 together with any supplemental information

   obtained and to be alert to red flags.

          55.     As of 2013, Dilley and Eldred instructed the assistant to send draft responses to

   the FINRA deficiency letters to Lopez for review and approval. For example, by email dated

   October 18, 2013, the assistant wrote Eldred: “I know that Dave [Lopez] looks at these [draft

   deficiency responses] now, but he’s been slammed . . . . Any chance you can make an exception

   and review this one?” Dilley tasked Lopez with that responsibility, for example, when Dilley

   was unavailable or because Lopez “has got a lot more experience.”

          56.     Mirman and Rose were Spartan Securities’ primary source of information

   throughout the Form 211 process. Mirman and Rose would provide Spartan Securities with

   documents in the name of the sole officer and many documents they prepared themselves,

   including spreadsheets detailing who solicited the shareholders and the relationship between

   the solicitor and shareholder. There were substantial similarities in these shareholders lists,

   including the sole officer of First Social appearing as a shareholder of 10 other Mirman/Rose

   Companies.




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          57.     The assistant sent FINRA deficiency letters to Mirman and Rose without

   confirming or inquiring into the authority of Mirman and Rose to act for the Mirman/Rose

   Companies (i.e. if they were a reliable source of information), despite the fact that Mirman and

   Rose were not officers, directors or even named shareholders of any of the Mirman/Rose

   Companies.

          58.     Sometimes within one week of Mirman and Rose’s solicitation, Spartan

   Securities submitted the Form 211 and a cover letter (with exhibits) to FINRA. However,

   Spartan Securities consistently misrepresented that: (1) the sole officer – not Mirman or Rose

   – called Dilley based on a referral (often from an attorney); (2) Spartan Securities agreed to

   file the Form 211 after “months” of due diligence; and (3) Spartan Securities had no prior

   relationship with the issuer or any of its “representatives” (despite repeatedly filing Forms 211

   at Mirman and Rose’s request).

          59.     For example, by email dated November 6, 2013, Rose solicited Dilley to file a

   Form 211 for Envoy Group and told Dilley: “We know the process, included is some due

   dil[igence] per our conversation” including a chart listing the Form S-1 shareholders and their

   purported relationships with each other. Spartan Securities filed the Envoy Group Form 211

   five days later, misrepresenting that Envoy Group’s sole officer contacted Dilley (with no

   mention of Rose), Spartan Securities had conducted due diligence over the past month, and

   Spartan Securities had no other relationship with Envoy Group’s “representatives.”

          60.     Each Form 211 cover letter also misrepresented that the issuer was “not

   working with any consultants” despite Dilley knowing or being reckless in not knowing that




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   Mirman and Rose had no publicly disclosed association with the Mirman/Rose Companies yet

   took various critical actions on their behalf.

           61.     Each Form 211 cover letter also misleadingly stated that “there are no other

   companies that the current officers or directors have requested a listing quotation on,” despite

   Dilley knowing or being reckless in not knowing that Mirman or Rose, who acted as de facto

   officers and directors, had requested all Forms 211 for the Mirman/Rose Companies.

           62.     Each Form 211 cover letter also misrepresented that the issuer was not in

   negotiations for any actual or potential merger or acquisition, despite Dilley knowing or being

   reckless in not knowing that the first Mirman/Rose Company had been available for sale upon

   Form 211 clearance by FINRA and his involvement in numerous other sales by Mirman and

   Rose shortly after Form 211 clearance.

           63.     Each cover letter also attached a shareholder chart stating that the sole officer

   had solicited each shareholder as a “friend” and that no other people had been solicited to

   invest, when in fact Mirman and Rose had solicited the shareholders and reused many of the

   same shareholders across up to 12 Mirman/Rose Companies. Dilley knew or was reckless in

   not knowing that Mirman and Rose controlled all the shares given, among other things, the

   substantial similarities across the shareholder lists.

           64.     Each Form 211 cover letter also misrepresented that the Mirman/Rose

   Company was following a specific business plan, despite Dilley knowing or being reckless in

   not knowing that the issuer was merely a public vehicle being packaged for sale and controlled

   by Mirman and Rose.




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          65.     Each Form 211 also misrepresented that Spartan Securities was not aware or in

   possession of any material information, including adverse information, regarding the

   Mirman/Rose Company, despite Dilley knowing or being reckless in not knowing that Mirman

   and Rose were undisclosed control persons developing the Mirman/Rose Company as a mere

   public vehicle to be sold as a shell.

          66.     No one at Spartan Securities questioned the accuracy of the Rule 15c2-11(a)

   information for any of the Mirman/Rose Companies. The Forms S-1 described start-up

   companies run exclusively by the sole officer with no mention of Mirman or Rose. Dilley did

   not even review (but “just kept on file”) the Forms S-1 which were strikingly similar across

   the Mirman/Rose Companies, including: (1) the same number of issued shares; (2) similar

   annual budgets (purportedly for effectuation of vastly different business plans); (3) the same

   small offering size (dwarfed by the annual budgets); and (4) similar assets (all cash and

   substantially the same amount):

    




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                   MIRMAN/ROSE COMPANY FORM S-1 DISCLOSURES

                                                          Total
                                Form S-1   # Of Shares             Operating     Sole Officer
    Mirman/Rose     Form S-1                              Assets
                                Offering   In Name Of                Budget       # of Hours
    Company          Shares                                (All
                                  Size     Sole Officer            (Duration)    Work Week
                                                          Cash)
                                                                    $400,000
    Kids Germ       3,000,000   $30,000     9,000,000     $5,351   (18 months)   10-25 hours

    Obscene                                                         $500,000
                    3,000,000   $52,500     9,000,000     $9,000   (18 months)   10-25 hours
    Jeans
                                                                    $477,500
    On The Move     3,500,000   $52,500     9,000,000     $9,000   (12 months)   10-25 hours

    Rainbow                                                         $500,000
                    2,500,000   $31,250     9,000,000     $8,912   (18 months)   10-25 hours
    Coral
                                                                    $587,500
    First Titan     3,000,000   $37,500     9,000,000     $8,922   (18 months)   10-25 hours

                                                                    $425,000
    Neutra          3,000,000   $42,000     9,000,000     $8,900   (12 months)   10-25 hours

                                                                    $500,000
    Aristocrat      3,900,000   $39,000     9,000,000     $8,900   (18 months)   10-25 hours

                                                                    $475,000
    First Social    3,000,000   $45,000     9,000,000     $8,900   (18 months)   10-25 hours

    Global                                                          $500,000
                    3,000,000   $34,500     9,000,000     $8,900   (18 months)   10-25 hours
    Group

                                                                    $600,000
    E-Waste         3,000,000   $36,000     9,000,000     $8,301   (18 months)   10-25 hours

    First                                                           $500,000
                    3,000,000   $34,500     9,000,000     $8,900   (18 months)   10-25 hours
    Independence
                                                                    $612,500
    Envoy Group     3,000,000   $37,500     9,000,000     $8,908   (18 months)   10-25 hours

    Changing                                                        $339,000
                    3,000,000   $30,000     9,000,000     $8,900   (18 months)   10-25 hours
    Technologies
                                                                    $650,000
    First Xeris     3,000,000   $39,000     9,000,000     $8,976   (18 months)   10-25 hours




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             67.   Moreover, many Mirman/Rose Companies publicly filed periodic reports with

   the Commission prior to Form 211 clearance which reported no assets, revenues, or expenses

   other than professional fees.

             68.   In at least 7 deficiency letters (including those for First Independence, Changing

   Technologies and First Xeris), FINRA requested detailed information with respect to the

   circumstances surrounding the registered offering per the Form S-1, including how many

   persons were solicited and ultimately invested. Spartan Securities submitted shareholder

   charts stating that the sole officer had solicited each shareholder as a “friend,” and reported the

   same solicitation success rate (24 solicited, 24 invested). The lists had remarkably similar

   features, including the same number of shares and shareholders, and overlapping rosters (some

   shareholders were the sole officer of other Mirman/Rose Companies and appeared on up to 12

   lists).

             69.   In at least 12 deficiency letters (including those for First Independence, Envoy

   Group and First Xeris), FINRA specifically inquired whether anyone other than the named

   shareholders had control over any aspect of the shares, including “any past, present, or future

   arrangements.” Spartan Securities conducted no inquiry despite, among other things, the

   striking similarities across rosters that contained the same shareholder names, Dilley’s

   involvement in bulk sales of all shares by Mirman and Rose, and Island Stock Transfer’s bulk

   issuance and transfer of all shares of Mirman/Rose Companies.

             70.   Spartan Securities also failed to inquire regarding numerous red flags as

   required by Rule 15c2-11, which requires a broker-dealer to evaluate any “adverse

   information” in its possession when determining whether it has a reasonable basis for the

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   accuracy of information and reliability of its source. For Spartan Securities, such red flags

   included the substantial similarities in the Forms S-1, the substantially similar shareholder

   rosters, the use of sole officers who were related to each other and appeared as shareholders

   on other Mirman/Rose Companies, and Mirman and Rose as the same solicitors and sources

   of information across the Mirman/Rose Companies.

          71.     FINRA also posed several other issuer-specific questions or concerns in its

   deficiency letters. In responding to FINRA’s deficiency letters, Spartan Securities did not

   follow its own written policies and procedures which required that the assistant “together with

   the CCO or other designated officer gather information from the issuer to respond to the

   FINRA comments” in deficiency letters and investigate red flags.           Spartan Securities’

   procedures further required the designated officer to initial each page of correspondence to

   FINRA evidencing that review and investigation. None of Spartan Securities’ correspondence

   to FINRA in connection with the Mirman/Rose Companies contained any such initials.

          72.     Lopez cursorily reviewed and approved Spartan Securities’ responses to at least

   the following deficiency letters for the Forms 211 of First Independence, Envoy Group,

   Changing Technologies and First Xeris:

    Mirman/Rose               Date of FINRA             Date of Spartan   Number of Questions
    Company                   Deficiency Letter         Response          from FINRA
    First Independence        2/27/2013                 3/12/2013         7
    Envoy Group               11/21/2013                11/25/2013        6
    Envoy Group               12/5/2013                 12/9/2013         1
    Envoy Group               12/17/2013                12/18/2013        1
    Changing                  12/3/2013                 12/17/2013        4
    Technologies
    First Xeris               2/7/2014                  2/13/2014         5



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          73.     Lopez approved each response within an hour of the assistant’s request, making

   no inquiry into FINRA’s questions (or the issuer more generally) despite FINRA raising at

   least 24 questions about these four issuers.

          74.     For example, FINRA questioned whether First Independence was a “shell

   company” despite its non-shell designation in periodic reports. Despite understanding that any

   shell issue should be investigated by asking the issuer basic questions about its business

   operations to see whether it is a “blank check company, that there’s an ongoing effort to further

   the business plan,” Lopez made no such investigation or inquiry with respect to First

   Independence’s business operations or purpose.

          75.     Spartan Securities (including Lopez) failed to review Rule 15c2-11 information

   or inquire further regarding red flags that were expressly raised by FINRA on the subsequently

   filed Forms 211. On the Envoy Group Form 211, in its deficiency letter dated November 21,

   2013, FINRA asked Spartan Securities for detailed descriptions of the relationships between:

   (1) Envoy Group, Jocelyn Nicholas (Envoy Group’s sole officer) and Mark Nicholas (Kids

   Germ’s sole officer); (2) Envoy Group, Jocelyn Nicholas, Mark Nicholas, and Kids Germ; and

   (3) Mark Nicholas and Spartan Securities. By email dated November 22, 2013, Dilley’s

   assistant forwarded this letter to Dilley and Lopez, and alerted them to the facts that “Shelly

   [Rose] sent us this one” and that Spartan Securities had filed the Form 211 for Kids Germ.

   Dilley and Lopez conducted no investigation into the two issuers (including whether Rose was

   a reliable source for Envoy Group) or Spartan Securities’ relationship with either of them.

   Specifically, Lopez merely told the assistant that “I am not familiar with any of those people

   or that company,” and Dilley instructed the assistant simply to rely on Envoy Group’s

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   response. Lopez then approved the deficiency response, which misrepresented that the only

   relationship among all the identified parties was the spousal relationship between Jocelyn and

   Mark Nicholas, Envoy Group’s sole officer had “no participation in any way with Kids Germ,”

   and Spartan Securities had no relationship with Kids Germ “and/or any of its representatives.”

          76.     In its deficiency letter dated November 25, 2013, FINRA inquired a second time

   for details of any relationship between Envoy Group’s sole officer and Kids Germ. Lopez

   approved the deficiency response, which misrepresented that Envoy Group’s sole officer’s

   only relationship with Kids Germ was as a 0.42% shareholder despite the fact that she was also

   an officer of Kids Germ.

          77.     Dilley and Lopez had numerous facts readily in their possession contradicting

   these representations and the Rule 15c2-11 information, including: (1) Spartan Securities

   through Dilley filed both the Envoy Group and Kids Germ Form 211, and Kids Germ’s DTC

   application, at Rose’s request; (2) Spartan Securities possessed numerous documents showing

   that Envoy Group’s sole officer had become a Kids Germ officer per Spartan Securities’ advice

   to Rose to obtain DTC eligibility; (3) Lopez acted on Rose’s authorization to speak with an

   auditor for Kids Germ despite Rose not being an officer, director, or authorized person on Kids

   Germ’s Corporate Authorization Form; (4) Envoy Group and Kids Germ had 11 shareholders

   in common (including the sole officers of two other Mirman/Rose Companies) and the same

   capitalization structure (9,000,000 share control block, 3,000,000 Form S-1 shares among 24

   shareholders); and (5) Dilley attempted to arrange a sale of Kids Germ for Rose.

          78.     On November 6, 2013, Mirman told Dilley “I need to file a 211 through your

   firm” for Changing Technologies. That same day, Rose had solicited Dilley to file the Form

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   211 for Envoy Group. Dilley told Mirman: “Funny you guys called me within a few minutes

   of each other.” Dilley then put Spartan Securities and Island Stock Transfer employees in

   contact with Mirman, who in turn approved the certified shareholder list for Changing

   Technologies which Spartan Securities submitted to FINRA with the Form 211.

          79.     Dilley drafted the portion of the Form 211 representing that Mirman had

   referred Changing Technologies to Spartan Securities, but that Spartan Securities “does not

   have any other relationship with Al Mirman.” Dilley knew or was reckless in not knowing

   that this statement was false given the fact that Spartan Securities filed this and other Forms

   211 at Mirman’s request.

          80.     By deficiency letter dated December 3, 2013, FINRA asked Spartan Securities

   for a “detailed explanation of the Issuer’s relationship with Al Mirman.” Spartan Securities

   sent FINRA’s deficiency letter only to Mirman to address this and other questions. Spartan

   Securities misrepresented to FINRA that the sole officer approached Mirman, a social

   acquaintance, for a broker-dealer recommendation and “Mirman has no relationship with

   Changing Technologies.” Lopez authorized this response despite Mirman having solicited

   Spartan Securities, sent Spartan Securities a series of documents for the Form 211, and

   approved the certified shareholder list which Spartan Securities submitted to FINRA with the

   Form 211.     Moreover, no one at Spartan Securities (including Lopez) conducted any

   investigation into Mirman’s disciplinary history, including his being barred by FINRA in 2007

   from association with any FINRA member.




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          Island Stock Transfer’s Involvement in the Mirman/Rose Fraud

          81.     Mirman and Rose retained Island Stock Transfer as the transfer agent for at

   least 12 of the Mirman/Rose Companies at or around the same time as retaining Spartan

   Securities to file the Form 211. For example, by email dated June 29, 2012, Dilley instructed

   an employee from each of Spartan Securities and Island Stock Transfer to “send [Rose] 211

   docs. [Transfer agent] agreement same terms as last deal they sent us.”

          82.     Dilley, Island Stock Transfer’s president, originated each relationship and

   personally took a number of steps on behalf of Island Stock Transfer for Mirman and Rose.

   Island Stock Transfer’s employees also ignored a host of red flags indicating that Mirman and

   Rose controlled the issuers as blank check companies and sold all the securities of those issuers

   owned by affiliates.

          83.     Island Stock Transfer has extensive written policies and procedures, which it

   largely ignored in its various transfer agent functions for the Mirman/Rose Companies. Island

   Stock Transfer’s policies and procedures contained many provisions intended to ensure that

   Island Stock Transfer employees communicated only with authorized persons as identified in

   writing by the issuer clients. As part of the initial “client” package (sent to Mirman or Rose),

   Island Stock Transfer requested the issuer to complete a “Corporate Authorization Form” to

   identify those persons with whom Island Stock Transfer could communicate about the issuer.

   Mirman or Rose was named as an authorized person for only two of the 12 Mirman/Rose

   Companies for which Island Stock Transfer acted as transfer agent, yet for all 12 companies

   Island Stock Transfer took directions exclusively from Mirman and Rose.




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          84.     Island Stock Transfer’s policies and procedures also required the issuer to

   provide a “list of insiders/control persons” at the onset of the relationship. Island Stock

   Transfer’s employees requested such lists from Mirman and Rose (not the sole officer), but

   never received one for any of the Mirman/Rose Companies.

          85.     According to Island Stock Transfer’s policies and procedures, all transfer

   records and shareholder lists are the “highly confidential” property of the issuer, and “shall not

   be given to unauthorized parties under any circumstances.” Moreover, Island Stock Transfer’s

   policies and procedures stated that “[s]hareholders may inquire about shares they own

   personally, but may not be provided with information concerning any other shareholder.”

   Nonetheless, Island Stock Transfer employees consistently provided both issuer and

   shareholder information to Mirman and Rose without inquiry.

          86.     At Dilley’s instruction, Island Stock Transfer employees exclusively

   communicated with and took direction from Mirman and Rose – and not the sole officer or

   shareholders – regarding both the issuers and the shares in the names of the friends and family.

   Island Stock Transfer first prepared a certified shareholder list with personal information

   provided by Mirman and Rose. Island Stock Transfer employees (some of whom were also

   employees of Spartan Securities, which used the lists for the pending Forms 211) requested

   and acted on Mirman and Rose’s approval of the list. Also, by email dated February 8, 2013,

   Rose instructed Dilley to make changes to the certified shareholder list of a Mirman/Rose

   Company.

          87.     Mirman and Rose then requested Island Stock Transfer to prepare stock

   certificates without a restrictive legend (stamped on the certificate to indicate that the shares

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   are restricted from transfer or sale) in the names of the same number of friends-and-family

   shareholders (24). Island Stock Transfer’s policies and procedures provided that shares

   without restrictive legend “can NOT be issued in the name of an insider” (emphasis in original).

   Island Stock Transfer training materials reiterated that “Insiders ALWAYS have restricted

   stock” (emphasis in original). Island Stock Transfer’s Director of Operations, who trained the

   lower-level employees, knew that “insider” included “affiliates” as defined in Rule 144 of the

   Securities Act. Despite the “affiliate” definition including those controlled by or together with

   an issuer, the Director of Operations only looked to see if the shareholder was a named officer

   or 15%+ shareholder (or spouse of either one) to determine the “insider” or “affiliate” status.

   Even so, Island Stock Transfer issued unlegended certificates in the name of the spouse of the

   sole officer for at least 4 Mirman/Rose Companies.

          88.     Island Stock Transfer delivered all 24 certificates to Mirman and Rose (who

   were not named shareholders), despite Island Stock Transfer’s policies and procedures that

   shareholder information could only be provided to the shareholders themselves. For example,

   on February 14, 2013, Island Stock Transfer asked Rose for delivery instructions for “each

   certificate” of First Independence stock. Rose directed Island Stock Transfer to “mail all of

   the certificates to me as always in the past.”

          89.     Shortly after the clearance of Spartan Securities’ Form 211, Mirman and Rose

   requested Island Stock Transfer’s assistance with DTC applications premised on the securities

   being unrestricted. Island Stock Transfer submitted at least 12 DTC transfer agent attestation

   forms (6 signed by Dilley) attesting that it would comply with DTC’s operational requirements,

   including exercising diligence in the related securities transactions and providing DTC with

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   complete and accurate information about the securities. Island Stock Transfer also received

   $7,500 from Envoy Group in connection with a DTC “services agreement.”

          90.     Island Stock Transfer, at the direction of Mirman or Rose, routinely transferred

   an unlegended certificate in the name of one friend-and-family shareholder to Cede & Co. in

   order to secure DTC eligibility. Dilley and other Island Stock Transfer employees also fielded

   Rose’s frequent urgent requests for updates on the DTC applications.

          91.     Island Stock Transfer then effectuated the bulk transfer of all or virtually all the

   securities (both the control block in the name of the sole officer and the friends-and-family

   shares) of at least 12 Mirman/Rose Companies through the preparation and delivery of

   unlegended stock certificates to a small buyer group. The same or substantially similar groups

   (represented by the same counsel) purchased multiple Mirman/Rose Companies.

          92.     Island Stock Transfer received instruction letters from buyer’s counsel who

   presented Island Stock Transfer with blank stock powers (sometimes dated months earlier) for

   the entire set of certificates that Island Stock Transfer had originally delivered to Mirman or

   Rose. The instruction letters detailed how all the shares would be transferred. For some

   issuers, there was a single instruction letter indicating that all shares were simultaneously being

   purchased pursuant to attached stock purchase agreements “of like tenor” with Rose identified

   as “Seller’s Representative.” For other issuers, Island Stock Transfer received 5-6 instruction

   letters from the same counsel in a short period of time with a series of stock purchase

   agreements with the same effective date and purchase price.

          93.     Island Stock Transfer received a legal opinion letter for only two of the 12 bulk

   transfers (First Independence and First Social). Those two letters were from the same lawyer

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   (Harrison) on the same day with obvious misstatements that First Independence was not a

   “shell” company and First Social’s sole officer’s spouse was not an “affiliate” of First Social.

           94.     Shortly after the bulk transfers, Island Stock Transfer continued to support the

   small buyer groups in transferring their certificates into Cede & Co. and broker positions by

   which the buyer groups publicly traded shares of the Mirman/Rose Companies. For example,

   First Independence became the subject of a fraudulent pump-and-dump in public trading

   shortly after FINRA’s clearance of Spartan Securities’ Form 211 and Island Stock Transfer’s

   bulk transfer of First Independence securities.

           95.     Island Stock Transfer routinely processed the bulk transfers without restrictive

   legend solely on the basis of the instruction letters and blank stock powers, and despite

   knowing or recklessly not knowing – and ignoring red flags – that the bulk transfers involved

   affiliates. The bulk nature of the sale itself was indicative of the affiliate status of the sellers –

   i.e. the fact that all shares were being sold at the same time to a small group of buyers indicated

   common control over all such shares.

           96.     For example, in October 2011, Island Stock Transfer transferred all the

   securities of two Mirman/Rose Companies (Rainbow Coral and Neutra) to the same buyers’

   counsel. Dilley had recently signed the Forms 211 for both issuers upon Mirman and Rose’s

   request. Dilley was also aware that in September 2011 Mirman had ordered Island Stock

   Transfer to pay a Rainbow Coral invoice out of funds attributed to Neutra. Also in September

   2011, Rose requested that Island Stock Transfer transfer the certificate of one Neutra

   shareholder to a buyer who, two weeks later, was part of the bulk transfer of all other Neutra




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   securities. Dilley signed unlegended certificates for both the Neutra and Rainbow Coral bulk

   transfers on the same day.

          97.     Similarly, in December 2012 and January 2013, Dilley signed letters on behalf

   of Island Stock Transfer at Mirman and Rose’s request expressly in furtherance of Mirman and

   Rose’s selling E-Waste and Global Group. In January and February 2013, Island Stock

   Transfer received instructions from the same buyers’ counsel for the transfer of virtually all

   the securities of E-Waste and Global Group to the same group of five buyers (including an

   entity in the counsel’s name). Island Stock Transfer also received a stock purchase agreement

   providing that “all of the free trading shares” of E-Waste were being purchased pursuant to

   stock purchase agreements “of like tenor” with Rose as “Seller’s Representative.”

          98.     Later in 2013, Island Stock Transfer similarly delivered all the shares of two

   other Mirman/Rose Companies (First Independence and First Social) to the same buyer’s

   counsel based on instructions to transfer all the “free-trading” securities at the same time as

   the control block.

          99.     In June and July 2014, Island Stock Transfer effectuated the bulk transfer of all

   the securities of Changing Technologies per instruction letters and blank stock powers on

   behalf of the same or substantially similar buyer group represented by the same counsel as at

   least four other Mirman/Rose Companies.         Island Stock Transfer’s “batch” (the set of

   documents reviewed for the transfer requests) included an email exchange dated June 3, 2014,

   between Mirman and the buyer’s counsel with respect to the stock certificate of one of the

   friends-and-family shareholders for whom Island Stock Transfer had already issued a new

   certificate in the name of Cede & Co. The buyer’s counsel told Mirman that it was missing

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   that shareholder’s certificate. Mirman responded: “His stock was deposited with [a broker] for

   DTC purposes. You have to have someone open an account with [the broker] and purchase

   the stock at a nominal amount.” Despite these indications of Mirman’s control over the bulk

   transfer of all the “free-trading” shares of Changing Technologies to one buyer group, Island

   Stock Transfer delivered unlegended certificates for all of the other outstanding shares to the

   buyer’s counsel.

          B.      The Daniels/Fan/Harrison Shell Factory

          100.    Daniels, Fan and Harrison manufactured undisclosed blank check companies

   based on a deceptive public float of purportedly unrestricted shares. Other than PurpleReal,

   Daniels acquired a small local business and filed a Form S-1 secondary offering for shares he

   had gifted to approximately 30 friends and family. Daniels and Harrison then orchestrated

   Form 211 and DTC applications for the float to be eligible for open-market trading and

   clearing.

          101.    Daniels and Harrison sold their first company, Dinello/AF Ocean, to Fan for

   approximately $500,000 in Fan’s endeavor to amass a roster of public companies for later

   reverse mergers with Chinese companies. Daniels and Fan then agreed to create three more

   public vehicles from scratch: Court/ChinAmerica, Wallbeds/Sichuan, and TTB/Ibex.

          102.    Daniels and Harrison retained Spartan Securities to file the following Forms

   211:

    Daniels Company          Form 211 Filing           Form 211 Clearance          Form 211
                                   Date                        Date                Signatory
    Dinello/AF Ocean            5/20/2011                  06/14/2011                Dilley
    Court/ChinAmerica           7/24/2012                   8/30/2012                Eldred
    Wallbeds/Sichuan           10/25/2012                  11/30/2012                Eldred
    TTB/Ibex                     9/6/2013                  10/29/2013                Eldred
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       PurpleReal                 7/31/2014                N/A (stop order)          Eldred
    
                    Eldred’s Knowledge of/Participation in the Daniels/Fan/Harrison Fraud

            103.    Daniels and Harrison have been friends with Eldred for at least 10 years.

   Harrison and Eldred’s wife had each been the sole officer of an issuer which had been acquired

   by reverse merger or other change-in-control transaction. Harrison and Daniels had assisted

   with the registration and sale of the issuer associated with Eldred’s wife. Eldred had offered

   that issuer to a prospective buyer performing a “shell search” in October 2009, and Daniels

   referred to that issuer as a “vehicle” in March 2010.

            104.    By email dated November 30, 2010, Eldred asked Harrison if regulators would

   have concern if his wife “creates another public company.” Harrison responded that she and

   Daniels “are filing [Dinello/AF Ocean] under my name and it has been two years since

   [Harrison’s other public company’s] acquisition.”

            105.    Eldred otherwise understood Daniels to be a principal (albeit undisclosed) of

   Dinello/AF Ocean. In April 2011, Daniels requested that Eldred prepare an Island Stock

   Transfer transfer agent agreement for Dinello/AF Ocean. In return for waiving Island Stock

   Transfer’s normal $7,500 setup fee, Eldred asked Harrison to modify Island Stock Transfer’s

   form contract by “put[ting] a paragraph in the contract that if the company does a reverse

   merger or there is a change of control then . . . there is a $5,000 termination fee,” a red flag

   that the issuer was intended to be sold from the onset.

            106.    Spartan Securities then filed Dinello/AF Ocean’s Form 211 in May 2011

   misrepresenting that the current and future business plan was the operation of a pizzeria, there

   was no present or future arrangement with respect to the transfer of any shares, and Spartan

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   Securities was not aware or in possession of any material or adverse information about

   Dinello/AF Ocean. Spartan Securities also misrepresented that Eldred was contacted by the

   named officer (other than Harrison) of Dinello/AF Ocean, whose identity Daniels and Harrison

   used to create the façade of independent management and who never communicated with and

   had not even heard of Spartan Securities or Eldred.

          107.    Soon after Form 211 clearance, by email dated July 20, 2011, Daniels asked

   Eldred if he knew whether a law firm was “doing any [reverse mergers] that they may need a

   shell for?” Two days later, Eldred referred that law firm to Daniels for “an OTCBB vehicle

   that [Daniels] would like to do something with.” On August 18, 2011, Daniels again asked

   Eldred about “available vehicles for a [reverse merger]” with Dinello/AF Ocean.

          108.    Eldred also assisted Daniels with DTC eligibility for Dinello/AF Ocean. In

   June 2011, Spartan Securities initiated the DTC application misrepresenting that Dinello/AF

   Ocean was “not a shell” and otherwise eligible for electronic clearance. The application was

   granted in July 2011, but revoked because there was no subsequent deposit of shares into the

   DTC system. By email dated October 10, 2011, Eldred told Daniels “I’m working on getting

   it fixed for you” and discussed internally that an “x-clear transaction needs to take place” for

   DTC eligibility to be reinstated.

          109.    That same day, Eldred signed securities deposit forms misrepresenting that

   Daniels was never an “affiliate” of Dinello/AF Ocean. Specifically, in signing the forms,

   Eldred misrepresented to Spartan Securities’ clearing firm that he had “carefully reviewed” the

   request and supporting documents, and to his “best knowledge the information is true and




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   correct and is made in compliance with all applicable federal and state securities laws” –

   despite knowing or being reckless in not knowing that Daniels controlled Dinello/AF Ocean.

            110.   On October 12, 2011, Eldred was copied on an email confirming that Spartan

   Securities was putting in an order to sell Dinello/AF Ocean shares on Daniels’ behalf. In fact,

   a Spartan Securities proprietary account purchased Daniels’ shares. Eldred confirmed with

   Daniels that this trade “has your problem worked out as long as DTC cooperates with our

   plan.”

            111.   As early as October 2011, Eldred knew or was reckless in not knowing that

   Daniels and Harrison had sold Dinello/AF Ocean to Fan. In or about June 2012, Eldred first

   negotiated with Fan to use Dinello/AF Ocean as a “public shell” for a potential reverse merger

   with Spartan Securities and Island Stock Transfer’s parent company. By email dated July 11,

   2012, Eldred wrote Fan (copying Daniels and Harrison): “The net result is that you and your

   investors get an equity interest in our business, and you end up with the same basic public

   OTCBB shell that you have now.”

            112.   Eldred also became aware that Daniels and Fan were manufacturing

   Court/ChinAmerica, Wallbeds/Sichuan, and TTB/Ibex for Fan as public vehicles. On July 24,

   2012, Spartan Securities filed the Form 211 for Court/ChinAmerica with Eldred signing as the

   principal responsible for all related submissions to FINRA. On July 30, 2012, Daniels told

   Eldred “Don’t forget that Andy [Fan] has three companies that he is doing registrations on

   including the 211 we filed on Court. So there should be plenty of room for you to have a

   meeting of the minds with [Fan]. Court is a super clean company that is a non-shell and the

   assets are fully depreciated so there can be a disposal of assets for a real clean deal.” By email

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   dated July 30, 2012, Eldred responded “I would be happy to use Court as a vehicle” while its

   Form 211 was pending.

          113.   Eldred took further actions for Court/ChinAmerica, Wallbeds/Sichuan, and

   TTB/Ibex knowing or being reckless in not knowing that both Fan’s involvement in and the

   purpose of the issuers were undisclosed. On September 5, 2012, Eldred received an email

   (with the subject “AF Ocean Investment”) from an Island Stock Transfer employee to sign up

   Wallbeds/Sichuan as “yet another company with [Island Stock Transfer].” Eldred forwarded

   the message to Daniels and asked him to “call me.”

          114.   In October 2012, Eldred approved Spartan Securities’ submission of a price

   quote to FINRA for Court/ChinAmerica per the request of an employee of Dinello/AF Ocean,

   which Eldred himself had referred to as a “public OTCBB shell that [Fan has] now.” In January

   2013, Eldred was forwarded a request from an AF Ocean employee for a transfer agent

   agreement for TTB/Ibex. Eldred then sent Daniels the TTB/Ibex agreement with the same

   terms as Dinello/AF Ocean, including the waiver of all upfront fees in favor of a fee in the

   event of a reverse merger.

          115.   Despite knowing or recklessly not knowing that these issuers were being

   developed as public vehicles for Fan, Eldred signed the three Forms 211 misrepresenting that

   each issuer was pursuing local business operations with no plans for mergers or changes of

   control despite, for example, Eldred himself proposing to “use [Court/ChinAmerica] as a

   vehicle” while its Form 211 was pending. The three Forms S-1 (part of the Rule 15c2-11(a)

   information) made these same misrepresentations, and also omitted any reference to Fan. The




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   three Forms 211 also misrepresented that Spartan Securities had no other material or adverse

   information in its possession.

          116.    In these three Forms 211, Spartan Securities also misrepresented that it had no

   relationship with any officer or representative, despite (1) Daniels assisting the Eldreds with

   the sale of the prior public company in the name of Eldred’s wife; (2) Daniels being a customer

   with whom Spartan Securities entered open-market trades, (3) Eldred assisting Daniels with a

   shell buyer for Dinello/AF Ocean, and (4) Daniels assisting Spartan Securities in finding a

   potential reverse merger candidate (including all three Fan issuers).

          117.    Spartan Securities also misrepresented the manner in which it was solicited to

   file the Form 211. On Wallbeds/Sichuan and TTB/Ibex, Spartan Securities misrepresented

   that Eldred had been telephonically contacted by a “friend” (a Dinello/AF Ocean employee),

   and had no relationship with any of their representatives (e.g. Daniels). FINRA then asked for

   more detail on the manner of solicitation in its first Wallbeds/Sichuan deficiency letter. The

   assistant sent Eldred the portion of the Form 211 on the manner of solicitation: “Am I missing

   something here, or did I do something wrong?” Eldred told the preparer just to “remove the

   friend part,” which remained in the later Form 211 for TTB/Ibex.

          118.    Spartan Securities also failed to inquire further regarding the presence of other

   red flags. For example, on both Court/ChinAmerica and Wallbeds/Sichuan, by letters dated

   July 27, 2012 and November 5, 2012, respectively, FINRA noted that numerous shareholders

   purportedly purchased shares with sequentially numbered cashier’s checks (a potential sign of

   someone other than the shareholder paying for the shares). Spartan Securities’ own policies

   and procedures (and SEC guidance) identify the “transfer of shares by control persons, as gifts,

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   to third persons in order to help create a public market” as a red flag. Without any further

   inquiry into the information containing red flags, Spartan Securities simply cut-and-pasted

   responses received on behalf of the issuers (from Harrison and a Dinello/AF Ocean employee)

   that one shareholder obtained the checks with cash gathered from the others, when in fact it

   was Daniels who provided all of the cash for the purchase of the cashier’s checks.

          119.    Spartan Securities ignored other red flags, including the fact that the same

   officers and shareholders were involved (up to 26 of the 29 shareholders overlapped on

   substantially similar “regression diagrams” of the history of share transfers) and each Form S-

   1 was for a secondary offering by which a small company was not raising any money yet

   incurring all the expenses related to the offering. Eldred did not review the Forms S-1 in

   connection with the Forms 211 as required by Rule 15c2-11.

          120.    Eldred later signed the Form 211 and received draft deficiency letter responses

   for TTB/Ibex. FINRA’s deficiency letter raised eight detailed questions, including inquiries

   into: (1) all relationships among the shareholders and officers; (2) present or future

   arrangements by which any person other than the named shareholder had control over the Form

   S-1 shares; (3) confirmation of the Form 211’s representation that TTB/Ibex had no intent

   either to effect a sale of shares or engage in change-of-control transaction; and (4) TTB/Ibex’s

   shell company status.     Spartan Securities cut-and-pasted a response letter drafted by a

   Dinello/AF Ocean employee which listed Fan merely as an officer of TTB/Ibex as of

   September 2013 and the shareholders (the vast majority of which were shareholders of

   Dinello/AF Ocean, Court/ChinAmerica, and Wallbeds/Sichuan) as friends of Daniels.

   However, Spartan Securities failed to disclose any aspect of the Daniels/Fan/Spartan Securities

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   relationship. Specifically, Spartan Securities stated that TTB/Ibex had no intent to engage in

   a change-of-control transaction and that the purported business objective (local pressure

   washing services) would be followed for at least one year, despite Eldred knowing or being

   reckless in not knowing of Daniels and Fan’s manufacture of public shells for Fan without

   regard to the purported local business operations.

           121.    Beyond the initial Forms 211 (and Spartan Securities’ initiation of unpriced

   quotations), Eldred approved submissions of priced quotations to FINRA pursuant to Rule

   15c2-11 for Court/ChinAmerica, TTB/Ibex, and Wallbeds/Sichuan in December 2013, January

   2014 and May 2014, respectively – just prior to the public trading in those stocks initiated by

   Daniels and the Dinello/AF Ocean employee. FINRA rejected the initial $0.10 quote on

   TTB/Ibex given the Form S-1 offering price of $0.01. By email dated January 6, 2014, Eldred

   acted upon the authorization of Daniels, who was no longer an officer of TTB/Ibex, to lower

   the quote to that price.

           122.    In July 2014, Harrison contacted Eldred to file a Form 211 for PurpleReal.

   FINRA requested proof of payment by the shareholders (many of whom were shareholders of

   the other Daniels Companies). Eldred learned that Daniels and Harrison had paid for all the

   shares, but by email approved Spartan Securities’ response to FINRA misrepresenting that the

   shareholders had purchased their shares.




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                                             COUNT I

              Violations of Section 15(c)(2) and Rule 15c2-11 of the Exchange Act

                                   (Against Spartan Securities)

          123.    The Commission repeats and realleges Paragraphs 1 through 122 of its

   Complaint.

          124.    From at least as early as January 2010 through at least May 2014, Spartan

   Securities published quotations for securities or, directly or indirectly, submitted quotations

   for publication, in any quotation medium without having a reasonable basis for believing,

   based on a review of the documents and information required by Rule 15c2-11(a)(1) through

   (a)(5) (“paragraph (a) information”) together with other documents and information required

   by Rule 15c2-11(b), that the paragraph (a) information was accurate in all material respects

   and that the sources of that information were reliable.

          125.    By reason of the foregoing, Spartan Securities violated, and, unless enjoined, is

   reasonably likely to continue to violate, Section 15(c)(2) of the Exchange Act, 15 U.S.C.

   78o(c)(2), and Rule 15c2-11, 17 C.F.R. § 240.15c2-11.

                                             COUNT II

    Aiding and Abetting Violations of Section 15(c)(2) and Rule 15c2-11 of the Exchange
                                            Act

                               (Against Dilley, Eldred, and Lopez)

          126.    The Commission repeats and realleges Paragraphs 1 through 122 of its

   Complaint.




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          127.    From at least as early as January 2010 through at least May 2014, Spartan

   Securities published quotations for securities or, directly or indirectly, submitted quotations

   for publication, in any quotation medium without having a reasonable basis for believing,

   based on a review of the paragraph (a) information together with other documents and

   information required by Rule 15c2-11(b), that the paragraph (a) information was accurate in

   all material respects and that the sources of that information were reliable, and by reason of

   the foregoing, violated Section 15(c)(2) and Rule 15c2-11 of the Exchange Act, 15 U.S.C. §

   78o(c)(2), and 17 C.F.R. § 240.15c2-11.

          128.    From at least as early as January 2010 through at least March 2014, Dilley

   knowingly or recklessly provided substantial assistance to Spartan Securities’ violations of

   Section 15(c)(2) and Rule 15c2-11 of the Exchange Act, 15 U.S.C. § 78o(c)(2), and 17 C.F.R.

   § 240.15c2-11, and is deemed to be in violation of this provision to the same extent as Spartan

   Securities.

          129.    From at least as early as June 2011 through at least May 2014, Eldred

   knowingly or recklessly provided substantial assistance to Spartan Securities’ violations of

   Section 15(c)(2) and Rule 15c2-11 of the Exchange Act, 15 U.S.C. § 78o(c)(2), and 17 C.F.R.

   § 240.15c2-11, and is deemed to be in violation of this provision to the same extent as Spartan

   Securities.

          130.    From at least as early as March 2013 through at least March 2014, Lopez

   knowingly or recklessly provided substantial assistance to Spartan Securities’ violations of

   Section 15(c)(2) and Rule 15c2-11 of the Exchange Act, 15 U.S.C. § 78o(c)(2), and 17 C.F.R.




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   § 240.15c2-11, and is deemed to be in violation of this provision to the same extent as Spartan

   Securities.

           131.    By reason of the foregoing, Dilley, Eldred, and Lopez aided and abetted and,

   unless enjoined, are reasonably likely to continue to aid and abet, violations of Section 15(c)(2)

   and Rule 15c2-11 of the Exchange Act, 15 U.S.C. § 78o(c)(2), and 17 C.F.R. § 240.15c2-11.

                                             COUNT III

                          Violations of Section 17(a)(1) of the Securities Act

           132.    The Commission repeats and realleges Paragraphs 1 through 122 of its

   Complaint.

        (Against Spartan Securities, Island Stock Transfer, and Dilley – Mirman/Rose
                                          Companies)

           133.    From at least as early as December 2009 through at least July 2014, Spartan

   Securities, Island Stock Transfer, and Dilley, in the offer or sale of any securities by the use of

   any means or instruments of transportation or communication in interstate commerce or by use

   of the mails, directly or indirectly knowingly or recklessly employed any device, scheme or

   artifice to defraud.

                  (Against Spartan Securities and Eldred – Daniels Companies)

           134.    From at least as early as May 2011 through at least August 2014, Spartan

   Securities and Eldred, in the offer or sale of any securities by the use of any means or

   instruments of transportation or communication in interstate commerce or by use of the mails,

   directly or indirectly, knowingly or recklessly employed any device, scheme or artifice to

   defraud.


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          135.    By reason of the foregoing, Spartan Securities, Island Stock Transfer, Dilley

   and Eldred violated, and, unless enjoined, are reasonably likely to continue to violate, Section

   17(a)(1) of the Securities Act, 15 U.S.C. § 77q(a)(1).

                                             COUNT IV

                        Violations of Section 17(a)(3) of the Securities Act

          136.    The Commission repeats and realleges Paragraphs 1 through 122 of its

   Complaint.

        (Against Spartan Securities, Island Stock Transfer, and Dilley – Mirman/Rose
                                          Companies)

          137.    From at least as early as December 2009 through at least July 2014, Spartan

   Securities, Island Stock Transfer and Dilley, in the offer or sale of securities by the use of any

   means or instruments of transportation or communication in interstate commerce or by use of

   the mails, directly or indirectly, negligently engaged in transactions, practices and courses of

   business which operated or would have operated as a fraud or deceit upon the purchasers and

   prospective purchasers of such securities.

                 (Against Spartan Securities and Eldred – Daniels Companies)

          138.    From at least as early as May 2011 through at least August 2014, Spartan

   Securities and Eldred, in the offer or sale of securities by the use of any means or instruments

   of transportation or communication in interstate commerce or by use of the mails, directly or

   indirectly, negligently engaged in transactions, practices and courses of business which

   operated or would have operated as a fraud or deceit upon the purchasers and prospective

   purchasers of such securities.


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             139.   By reason of the foregoing, Spartan Securities, Island Stock Transfer, Dilley

   and Eldred violated, and, unless enjoined, are reasonably likely to continue to violate, Section

   17(a)(3) of the Securities Act, 15 U.S.C. § 77q(a)(3).

                                             COUNT V

                 Violations of Section 10(b) and Rule 10b-5(a) of the Exchange Act

             140.   The Commission repeats and realleges Paragraphs 1 through 122 of its

   Complaint.

           (Against Spartan Securities, Island Stock Transfer, and Dilley – Mirman/Rose
                                             Companies)

             141.   From at least as early as December 2009 through at least July 2014, Spartan

   Securities, Island Stock Transfer, and Dilley, directly and indirectly, by use of any means or

   instrumentality of interstate commerce, or of the mails, knowingly or recklessly employed

   devices, schemes or artifices to defraud in connection with the purchase or sale of securities.

                    (Against Spartan Securities and Eldred – Daniels Companies)

             142.   From at least as early as May 2011 through at least May 2014, Spartan

   Securities and Eldred, directly and indirectly, by use of any means or instrumentality of

   interstate commerce, or of the mails, knowingly or recklessly employed devices, schemes or

   artifices to defraud in connection with the purchase or sale of securities.

             143.   By reason of the foregoing, Spartan Securities, Island Stock Transfer, Dilley

   and Eldred violated, and, unless enjoined, are reasonably likely to continue to violate, Section

   10(b) and Rule 10b-5(a) of the Exchange Act, 15 U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-

   5(a).


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                                              COUNT VI

                Violations of Section 10(b) and Rule 10b-5(b) of the Exchange Act

             144.   The Commission repeats and realleges Paragraphs 1 through 122 of its

   Complaint.

           (Against Spartan Securities, Island Stock Transfer, and Dilley – Mirman/Rose
                                             Companies)

             145.   From at least as early as December 2009 through at least April 2014, Spartan

   Securities, Island Stock Transfer, and Dilley, directly and indirectly, by use of any means or

   instrumentality of interstate commerce, or of the mails, knowingly or recklessly made untrue

   statements of material facts and omitted to state material facts necessary in order to make the

   statements made, in light of the circumstances under which they were made, not misleading in

   connection with the purchase or sale of securities.

                    (Against Spartan Securities and Eldred – Daniels Companies)

             146.   From at least as early as May 2011 through at least May 2014, Spartan

   Securities and Eldred, directly and indirectly, by use of any means or instrumentality of

   interstate commerce, or of the mails, knowingly or recklessly made untrue statements of

   material facts and omitted to state material facts necessary in order to make the statements

   made, in light of the circumstances under which they were made, not misleading in connection

   with the purchase or sale of securities.

             147.   By reason of the foregoing, Spartan Securities, Island Stock Transfer, Dilley

   and Eldred violated, and, unless enjoined, are reasonably likely to continue to violate, Section

   10(b) and Rule 10b-5(b) of the Exchange Act, 15 U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-

   5(b).
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                                              COUNT VII

                    Violations of Section 10(b) and Rule 10b-5(c) of the Exchange Act

             148.     The Commission repeats and realleges Paragraphs 1 through 122 of its

   Complaint.

           (Against Spartan Securities, Island Stock Transfer, and Dilley – Mirman/Rose
                                             Companies)

             149.     From at least as early as December 2009 through at least July 2014, Spartan

   Securities, Island Stock Transfer, and Dilley, directly and indirectly, by use of any means or

   instrumentality of interstate commerce, or of the mails, knowingly or recklessly engaged in

   acts, practices and courses of business which operated or would have operated as a fraud or

   deceit upon any person in connection with the purchase or sale of securities.

                      (Against Spartan Securities and Eldred – Daniels Companies)

             150.     From at least as early as May 2011 through at least May 2014, Spartan

   Securities and Eldred, directly and indirectly, by use of any means or instrumentality of

   interstate commerce, or of the mails, knowingly or recklessly engaged in acts, practices and

   courses of business which operated or would have operated as a fraud or deceit upon any person

   in connection with the purchase or sale of securities.

             151.     By reason of the foregoing, Spartan Securities, Island Stock Transfer, Dilley

   and Eldred violated, and, unless enjoined, are reasonably likely to continue to violate, Section

   10(b) and Rule 10b-5(c) of the Exchange Act, 15 U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-

   5(c).




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                                            COUNT VIII

            Aiding and Abetting Violations of Section 17(a)(1) of the Securities Act

          152.    The Commission repeats and realleges Paragraphs 1 through 122 of its

   Complaint.

                 (Against Spartan Securities and Eldred – Daniels Companies)

          153.    From at least as early as July 2010 through at least August 2014, Daniels, Fan

   and Harrison, in the offer or sale of securities by the use of any means or instruments of

   transportation or communication in interstate commerce or by use of the mails, directly or

   indirectly, knowingly or recklessly employed devices, schemes or artifices to defraud, and by

   reason of the foregoing, violated Section 17(a)(1) of the Securities Act, 15 U.S.C. § 77q(a)(1).

          154.    From at least as early as May 2011 through at least August 2014, Spartan

   Securities and Eldred knowingly or recklessly provided substantial assistance to Daniels, Fan,

   and Harrison’s violations of Section 17(a)(1) of the Securities Act, 15 U.S.C. § 77q(a)(1), and

   are deemed to be in violation of this provision to the same extent as Daniels, Fan, and Harrison.

        (Against Spartan Securities, Island Stock Transfer, and Dilley – Mirman/Rose
                                          Companies)

          155.    From at least as early as January 2009 through at least July 2014, Mirman and

   Rose, in the offer or sale of any securities by the use of any means or instruments of

   transportation or communication in interstate commerce or by use of the mails, directly or

   indirectly, knowingly or recklessly employed devices, schemes or artifices to defraud, and by

   reason of the foregoing, violated Section 17(a)(1) of the Securities Act, 15 U.S.C. § 77q(a)(1).

          156.    From at least as early as December 2009 through at least July 2014, Spartan

   Securities, Island Stock Transfer, and Dilley knowingly or recklessly provided substantial
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   assistance to Mirman and Rose’s violations of Section 17(a)(1) of the Securities Act, 15 U.S.C.

   § 77q(a)(1), and are deemed to be in violation of this provision to the same extent as Mirman

   and Rose.

          157.    By reason of the foregoing, Spartan Securities, Island Stock Transfer, Dilley

   and Eldred aided and abetted and, unless enjoined, are reasonably likely to continue to aid and

   abet, violations of Section 17(a)(1) of the Securities Act, 15 U.S.C. § 77q(a)(1).

                                             COUNT IX

            Aiding and Abetting Violations of Section 17(a)(2) of the Securities Act

          158.    The Commission repeats and realleges Paragraphs 1 through 122 of its

   Complaint.

                 (Against Spartan Securities and Eldred – Daniels Companies)

          159.    From at least as early as July 2010 through at least May 2014, Daniels, Fan, and

   Harrison, in the offer or sale of securities by the use of any means or instruments of

   transportation or communication in interstate commerce or by use of the mails, directly or

   indirectly, negligently obtained money or property by means of untrue statements of material

   facts or omissions to state material facts necessary to make the statements made, in light of the

   circumstances under which they were made, not misleading, and by reason of the foregoing,

   violated Section 17(a)(2) of the Securities Act, 15 U.S.C. § 77q(a)(2).

          160.    From at least as early as May 2011 through at least May 2014, Spartan

   Securities and Eldred knowingly or recklessly provided substantial assistance to Daniels, Fan,

   and Harrison’s violations of Section 17(a)(2) of the Securities Act, 15 U.S.C. § 77q(a)(2), and

   are deemed to be in violation of this provision to the same extent as Daniels, Fan, and Harrison.

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        (Against Spartan Securities, Island Stock Transfer, and Dilley – Mirman/Rose
                                          Companies)

          161.    From at least as early as January 2009 through at least July 2014, Mirman and

   Rose, in the offer or sale of securities by the use of any means or instruments of transportation

   or communication in interstate commerce or by use of the mails, directly or indirectly,

   negligently obtained money or property by means of untrue statements of material facts or

   omissions to state material facts necessary to make the statements made, in light of the

   circumstances under which they were made, not misleading, and by reason of the foregoing,

   violated Section 17(a)(2) of the Securities Act, 15 U.S.C. § 77q(a)(2).

          162.    From at least as early as December 2009 through at least July 2014, Spartan

   Securities, Island Stock Transfer, and Dilley knowingly or recklessly provided substantial

   assistance to Mirman and Rose’s violations of Section 17(a)(2) of the Securities Act, 15 U.S.C.

   § 77q(a)(2), and are deemed to be in violation of this provision to the same extent as Mirman

   and Rose.

          163.    By reason of the foregoing, Spartan Securities, Island Stock Transfer, Dilley

   and Eldred aided and abetted and, unless enjoined, are reasonably likely to continue to aid and

   abet, violations of Section 17(a)(2) of the Securities Act, 15 U.S.C. § 77q(a)(2).

                                             COUNT X

            Aiding and Abetting Violations of Section 17(a)(3) of the Securities Act

          164.    The Commission repeats and realleges Paragraphs 1 through 122 of its

   Complaint.




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                (Against Spartan Securities and Eldred – Daniels Companies)

         165.    From at least as early as July 2010 through at least August 2014, Daniels, Fan

   and Harrison, in the offer or sale of securities by the use of any means or instruments of

   transportation or communication in interstate commerce or by use of the mails, directly or

   indirectly, negligently engaged in transactions, practices and courses of business which

   operated or would have operated as a fraud or deceit upon the purchasers and prospective

   purchasers of such securities, and by reason of the foregoing, violated Section 17(a)(3) of the

   Securities Act, 15 U.S.C. § 77q(a)(3).

         166.    From at least as early as May 2011 through at least August 2014, Spartan

   Securities and Eldred knowingly or recklessly provided substantial assistance to Daniels, Fan

   and Harrison’s violations of Section 17(a)(3) of the Securities Act, 15 U.S.C. § 77q(a)(3), and

   are deemed to be in violation of this provision to the same extent as Daniels, Fan, and

   Harrison.

       (Against Spartan Securities, Island Stock Transfer, and Dilley – Mirman/Rose
                                         Companies)

         167.    From at least as early as January 2009 through at least July 2014, Mirman and

   Rose, in the offer or sale of any securities by the use of any means or instruments of

   transportation or communication in interstate commerce or by use of the mails, directly or

   indirectly, negligently engaged in transactions, practices and courses of business which

   operated or would have operated as a fraud or deceit upon the purchasers and prospective

   purchasers of such securities, and by reason of the foregoing, violated Section 17(a)(3) of the

   Securities Act, 15 U.S.C. § 77q(a)(3).


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         168.    From at least as early as December 2009 through at least July 2014, Spartan

   Securities, Island Stock Transfer, and Dilley knowingly or recklessly provided substantial

   assistance to Mirman and Rose’s violations of Section 17(a)(3) of the Securities Act, 15

   U.S.C. § 77q(a)(3), and are deemed to be in violation of this provision to the same extent as

   Mirman and Rose.

         169.    By reason of the foregoing, Spartan Securities, Island Stock Transfer, Dilley

   and Eldred aided and abetted and, unless enjoined, are reasonably likely to continue to aid

   and abet, violations of Section 17(a)(3) of the Securities Act, 15 U.S.C. § 77q(a)(3).

                                            COUNT XI

                              Aiding and Abetting Violations of
                     Section 10(b) and Rule 10b-5(a) of the Exchange Act

         170.    The Commission repeats and realleges Paragraphs 1 through 122 of its

   Complaint.

                    (Against Spartan Securities and Eldred – Daniels Companies)

         171.    From at least as early as July 2010 through at least May 2014, Daniels, Fan and

   Harrison, directly and indirectly, by use of any means or instrumentality of interstate

   commerce, or of the mails, knowingly or recklessly employed devices, schemes or artifices

   to defraud in connection with the purchase or sale of securities, and by reason of the foregoing,

   violated Section 10(b) and Rule 10b-5(a) of the Exchange Act, 15 U.S.C. § 78j(b) and 17

   C.F.R. § 240.10b-5(a).

         172.    From at least as early as May 2011 through at least May 2014, Spartan

   Securities and Eldred knowingly or recklessly provided substantial assistance to Daniels, Fan

   and Harrison’s violations of Section 10(b) and Rule 10b-5(a) of the Exchange Act, 15 U.S.C.
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   § 78j(b) and 17 C.F.R. § 240.10b-5(a), and are deemed to be in violation of these provisions

   to the same extent as Daniels, Fan and Harrison.

       (Against Spartan Securities, Island Stock Transfer, and Dilley – Mirman/Rose
                                         Companies)

         173.      From at least as early as January 2009 through at least July 2014, Mirman and

   Rose, directly and indirectly, by use of any means or instrumentality of interstate commerce,

   or of the mails, knowingly or recklessly employed devices, schemes or artifices to defraud in

   connection with the purchase or sale of securities, and by reason of the foregoing, violated

   Section 10(b) and Rule 10b-5(a) of the Exchange Act, 15 U.S.C. § 78j(b) and 17 C.F.R. §

   240.10b-5(a).

         174.      From at least as early as December 2009 through at least July 2014, Spartan

   Securities, Island Stock Transfer, and Dilley knowingly or recklessly provided substantial

   assistance to Mirman and Rose’s violations of Section 10(b) and Rule 10b-5(a) of the

   Exchange Act, 15 U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-5(a), and are deemed to be in

   violation of these provisions to the same extent as Mirman and Rose.

         175.      By reason of the foregoing, Spartan Securities, Island Stock Transfer, Dilley

   and Eldred aided and abetted and, unless enjoined, are reasonably likely to continue to aid

   and abet, violations of Section 10(b) and Rule 10b-5(a) of the Exchange Act, 15 U.S.C. §

   78j(b) and 17 C.F.R. § 240.10b-5(a).




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                                           COUNT XII

                              Aiding and Abetting Violations of
                     Section 10(b) and Rule 10b-5(b) of the Exchange Act

         176.    The Commission repeats and realleges Paragraphs 1 through 122 of its

   Complaint.

                (Against Spartan Securities and Eldred – Daniels Companies)

         177.    From at least as early as July 2010 through at least May 2014, Daniels, Fan and

   Harrison, directly and indirectly, by use of any means or instrumentality of interstate

   commerce, or of the mails, knowingly or recklessly made untrue statements of material facts

   and omitted to state material facts necessary in order to make the statements made, in light of

   the circumstances under which they were made, not misleading in connection with the

   purchase or sale of securities, and by reason of the foregoing, violated Section 10(b) and Rule

   10b-5(b) of the Exchange Act, 15 U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-5(b).

         178.    From at least as early as May 2011 through at least May 2014, Spartan

   Securities and Eldred knowingly or recklessly provided substantial assistance to Daniels, Fan

   and Harrison’s violations of Section 10(b) and Rule 10b-5(b) of the Exchange Act, 15 U.S.C.

   § 78j(b), and 17 C.F.R. § 240.10b-5(b), and are deemed to be in violation of these provisions

   to the same extent as Daniels, Fan and Harrison.

       (Against Spartan Securities, Island Stock Transfer, and Dilley – Mirman/Rose
                                         Companies)

         179.    From at least as early as January 2009 through at least July 2014, Mirman and

   Rose directly and indirectly, by use of any means or instrumentality of interstate commerce,

   or of the mails, knowingly or recklessly made untrue statements of material facts and omitted

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   to state material facts necessary in order to make the statements made, in light of the

   circumstances under which they were made, not misleading in connection with the purchase

   or sale of securities, and by reason of the foregoing, violated Section 10(b) and Rule 10b-5(b)

   of the Exchange Act, 15 U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-5(b).

          180.   From at least as early as December 2009 through at least July 2014, Spartan

   Securities, Island Stock Transfer, and Dilley knowingly or recklessly provided substantial

   assistance to Mirman and Rose’s violations of Section 10(b) and Rule 10b-5(b) of the

   Exchange Act, 15 U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-5(b), and are deemed to be in

   violation of these provisions to the same extent as Mirman and Rose.

          181.   By reason of the foregoing, Spartan Securities, Island Stock Transfer, Dilley

   and Eldred aided and abetted and, unless enjoined, are reasonably likely to continue to aid

   and abet, violations of Section 10(b) and Rule 10b-5(b) of the Exchange Act, 15 U.S.C. §

   78j(b) and 17 C.F.R. § 240.10b-5(b).

                                          COUNT XIII

                              Aiding and Abetting Violations of
                     Section 10(b) and Rule 10b-5(c) of the Exchange Act

          182.   The Commission repeats and realleges Paragraphs 1 through 122 of its

   Complaint.

                 (Against Spartan Securities and Eldred – Daniels Companies)

          183.   From at least as early as July 2010 through at least May 2014, Daniels, Fan and

   Harrison, directly and indirectly, by use of any means or instrumentality of interstate

   commerce, or of the mails, knowingly or recklessly engaged in acts, practices and courses of

   business which operated or would have operated as a fraud or deceit upon any person in
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   connection with the purchase or sale of securities, and by reason of the foregoing, violated

   Section 10(b) and Rule 10b-5(c) of the Exchange Act, 15 U.S.C. § 78j(b) and 17 C.F.R. §

   240.10b-5(c).

          184.     From at least as early as May 2011 through at least May 2014], Spartan

   Securities and Eldred knowingly or recklessly provided substantial assistance to Daniels, Fan

   and Harrison’s violations of Section 10(b) and Rule 10b-5(c) of the Exchange Act, 15 U.S.C.

   § 78j(b) and 17 C.F.R. § 240.10b-5(c), and are deemed to be in violation of these provisions

   to the same extent as Daniels, Fan and Harrison.

        (Against Spartan Securities, Island Stock Transfer, and Dilley – Mirman/Rose
                                          Companies)

          185.     From at least as early as January 2009 through at least July 2014, Mirman and

   Rose, directly and indirectly, by use of any means or instrumentality of interstate commerce,

   or of the mails, knowingly or recklessly engaged in acts, practices and courses of business

   which operated or would have operated as a fraud or deceit upon any person in connection

   with the purchase or sale of securities, and by reason of the foregoing, violated Section 10(b)

   and Rule 10b-5(c) of the Exchange Act, 15 U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-5(c).

          186.     From at least as early as December 2009 through at least July 2014], Spartan

   Securities, Island Stock Transfer, and Dilley knowingly or recklessly provided substantial

   assistance to Mirman and Rose’s violations of Section 10(b) and Rule 10b-5(c) of the

   Exchange Act, 15 U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-5(c), and are deemed to be in

   violation of these provisions to the same extent as Mirman and Rose.

          187.     By reason of the foregoing, Spartan Securities, Island Stock Transfer, Dilley

   and Eldred aided and abetted and, unless enjoined, are reasonably likely to continue to aid and
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   abet, violations of Section 10(b) and Rule 10b-5(c) of the Exchange Act, 15 U.S.C. § 78j(b)

   and 17 C.F.R. § 240.10b-5(c).

                                            COUNT XIV

                   Violations of Sections 5(a) and 5(c) of the Securities Act

                (Against Spartan Securities, Island Stock Transfer, and Dilley)

          188.    The Commission repeats and realleges Paragraphs 1 through 122 of its

   Complaint.

          189.    From at least as early as December 2009 until at least July 2014, Spartan

   Securities, Island Stock Transfer and Dilley, directly or indirectly, have made use of the means

   or instruments of transportation or communication in interstate commerce or of the mails to

   sell securities, when no registration statement was in effect with the Commission as to such

   securities, and have made use of the means or instruments of transportation or communication

   in interstate commerce or of the mails to offer to sell such securities when no registration

   statement had been filed with the Commission as to such securities.

          190.    There were no applicable exemptions from registration.

          191.    By reason of the foregoing, Spartan Securities, Island Stock Transfer and Dilley

   violated, and unless enjoined, are reasonably likely to continue to violate Sections 5(a) and

   5(c) of the Securities Act, 15 U.S.C. § 77e(a), (c).


                                      RELIEF REQUESTED

          WHEREFORE, the Commission respectfully requests the Court find the Defendants

   committed the violations alleged, and:


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                                                  I.

                                       Permanent Injunction

          Issue a Permanent Injunction restraining and enjoining Defendants, their officers,

   agents, servants, employees, attorneys, and all persons in active concert or participation with

   them, and each of them, from violating the federal securities laws alleged in this Complaint.

                                                 II.

                                           Disgorgement

          Issue an Order directing Island Stock Transfer to disgorge ill-gotten gains received

   within the applicable statute of limitations (including the time during which the statute of

   limitations was tolled by agreement with Island Stock Transfer), including prejudgment

   interest, resulting from the acts or courses of conduct alleged in this Complaint.

                                                 III.

                                              Penalties

          Issue an Order directing Defendants to pay civil money penalties pursuant to Section

   20(d) of the Securities Act, 15 U.S.C. § 77t(d), and Section 21(d) of the Exchange Act, 15

   U.S.C. § 78u(d).

                                                 IV.

                                          Penny Stock Bar

          Issue an Order, pursuant to Section 20(g) of the Securities Act, 15 U.S.C. § 77t(g), and

   Section 21(d)(6) of the Exchange Act, 15 U.S.C. § 78u(d)(6), barring Spartan  Securities,

   Dilley, Eldred and Lopez from participating in any future offering of a penny stock.




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                                                 V.

                                           Further Relief

          Grant such other and further relief as may be necessary and appropriate.

                                                 VI.

                                     Retention of Jurisdiction

          Further, the Commission respectfully requests that the Court retain jurisdiction over

   this action and over Defendants in order to implement and carry out the terms of all orders and

   decrees that may hereby be entered, or to entertain any suitable application or motion by the

   Commission for additional relief within the jurisdiction of this Court.

   Dated: February 20, 2019                      By:s/Wilfredo Fernandez
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